LAW FIRM
OF

WILLIAM E. OTTO, Esa.

 

P.O. Box 7O1
MURRYSVILLE, PA 15668
PHONE: (724) 519-8778 (OFFICE) (412) 973-5837 (CELL)
WEO@OTTOLAWFIRM.COM

May 5, 2022

The Honorable Harry F. Smail, Jr.
Westmoreland County Courthouse
2 N Main St

Greensburg, PA 15601

RE: Christine Biros vy. U Lock, Inc.

Westmoreland County Court of Common Pleas Case No, 17CJ04886

Dear Judge Smail:

Enclosed please find a copy of Evidence in Support of Plaintiff's Motion for Sanctions
Pursuant to 42 Pa.C.S.A. §2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d).

It is my intention to present this matter to you in your Courtroom on Friday, May 13, 2022, or
at such other time as it may please the Court. In addition, at that time, I would like the opportunity to
address other matters related to the Motions which are currently before you.

Opposing Counsel has been given notice of my intention and copies of these documents. Please
note that copies (without Exhibit B, Invoices) have also been provided to Messrs. Del Cotto and

Tumolo as a courtesy only, since their clients have been dismissed from the case and these
presentations do not have an impact on them.

If you have any questions, please contact me.

Respectfully submitted,

illiam E. Otto, Esq. |
CC: (w/Enclosures) J. Allen Roth, Esq.

757 Lloyd Avenue Extension, Suite B
Latrobe, PA 15650

 

Enclosures

John Tumolo, Esq. Dennis Del Cotto, Esq.
437 Grant Street 4345 Old William Penn Highway
1500 Frick Building Murrysville, PA 15668

Pittsburgh, PA 15219

 
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA

CHRISTINE BIROS, an individual, CIVIL DIVISION
Plaintiff, No. 17CJ04886

VS.
EVIDENCE IN SUPPORT OF
U LOCK, INC., a Pennsylvania PLAINTIFF’S MOTION FOR
corporation, SANCTIONS PURSUANT TO 42
Pa.C.S.A. § 2503(7) and (9) and
Defendant. Pa.R.C.P. RULE 1023.1(d)

LIS PENDENS

Filed on Behalf of Plaintiff,
Christine Biros

Counsel of Record for this Party:
William E. Otto, Esq.

PA I.D. #32716

P.O. Box 701

Murrysville, PA 15668

Office: (724) 519-8778

 
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
CHRISTINE BIROS, an individual, CIVIL DIVISION
Plaintiff, No. 17CJ04886

Vs.

U LOCK, INC., a Pennsylvania
corporation,

Defendant.
EVIDENCE IN SUPPORT OF PLAINTIFF’S MOTION FOR SANCTIONS PURSUANT
TO 42 Pa.C.S.A. § 2503(7) and (9) and PA.R.C.P. RULE 1023.1(d)
AND NOW comes Plaintiff Christine Biros by and through her counsel, William E. Otto,
Esq., and files the within Evidence in Support of Plaintiff's Motion for Sanctions Pursuant to 42
Pa.C.S.A. §2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d) against Defendant U Lock, Inc. and its
counsel, J. Allen Roth, Esq.:

1. During the argument on Motions conducted in this Court on April 22, 2022,
Plaintiff presented a Motion for Sanctions against Defendant U Lock, its counsel and its
directors.

2. This Court requested that Plaintiff's counsel provide evidence in the form of
attorney’s billings to support Plaintiff's Motion for Sanctions.

3. Attached hereto as Exhibit “A”, Summary, and made a part hereof is a summary
of various events, dates and charges incurred by Plaintiff to defend against Defendant’s assertion
that the source of Plaintiff's funds in the underlying action resulted from illegal conduct.

4. Attached hereto as Exhibit “B”, Invoices, and made a part hereof are redacted

copies of invoices referred to in the summary.

 
5, As can be seen from Exhibit “B”, counsel for Plaintiff did not detail his efforts on
specific issues to the level of detail that would clearly delineate his work on that specific issue.

6. Consequently, Plaintiff's counsel reviewed cach of the filings for which such time
was incurred and has made estimates of the time spent based on his recollection and experience.

7. As shown in Exhibit “A”, Summary, the billings support a charge of $14,280.00;
however, Plaintiff believes that sanctions in the amount of $20,000.00 are warranted because of
the damage done to Plaintiff's reputation.

8. Defendant’s counsel has asserted in his Brief that no charge may be asserted
against such counsel for matters prior to 2020 because of such counsel’s bankruptcy filing as of
October 17, 2019.

9, In response, Plaintiff has attached Exhibit “C”, Defendant’s counsel’s List of
Creditors which he filed in connection with his bankruptcy case.

10. As can be seen, Plaintiff is not named as a creditor and had no knowledge of such
filing.

11. Further, the U.S. Bankruptcy Code, 7 USC §§101 et seq., would not prohibit the
imposition of such sanctions by this Court, but rather, only unjustified attempts to collect such
sums,

12. Plaintiffis considering taking action to open Defendant’s counsel’s bankruptcy
case based on evidence discovered by Plaintiff.

13. If Plaintiff is successful in this action, it is possible that Plaintiff may be able to
hold Defendant’s counsel responsible for his actions.

Respectfully submitted,

 

William E. Otto, Esq.
Counsel for Plaintiff

3

 
VERIFICATION

The undersigned, William E. Otto, Esq., avers that the statements of fact contained in the
within Evidence in Support of Plaintiff's Motion for Sanctions Pursuant to 42 Pa.C.S.A.

§2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d) are true and correct to the best of his knowledge,
information and belief, that the Exhibits attached to the Evidence in Support are true and correct

copies of the originals and that said statements are made subject to the penalties of 18 Pa. C.S.A.
§ 4904 relating to unsworn falsification to authorities,

 

William E. Otto, Esq.
 

U Lock Invoice Summary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Hours Value of Estimated Time Spent on | Amount on Source
Time Period Spent Project Invoice Nos. on Project Hours Source of Funds Issue of Funds Issue
Review Amended Answer and prepare PO's and
4/25/2018 - 5/14/2018 |Brief in Support 713, 746 12 $ 4,200.00 3 $ 1,050.00
5/29/2018 - 9/24/2018 _|Review U Lock objections to PO's and new Answer 746, 789, 842 3.8 $1,330.00 25 $ 875.00
Review U Lock Motion for Post-Trial Relief and
9/4/2019 - 10/15/2019 |draft Objections and Brief in Opposition to Motion 1204, 1234 42.7 $ 14,945.00 6 $ 2,100.00
11/7/2019 - 11/8/2019 |Prepare for and attend hearing on post-trial motions 1290 6.3 $ 2,205.00 63 $ 2,205,00
Review U Lock Superior Court filings and prepare 1320, 1420, 1499,
1/29/2020 - 5/28/2021 | Brief 1572, 1835 106.1 $ 37,135.00 20 $ 7,000.00
9/5/2021 - 9/7/2021 Prepare Answer to U Lock's Supreme Court Application 1914 6.1 $ 2,135.00 3 $ 1,050.00
TOTAL 177 $ 61,950.00 40.8 $ 14,280.00

 

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LiglHXxX3

 

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 713
Murrysville, PA 15668 Date: 05/08/2018
Due Upon Receipt

00089-Biros

U-Lock

Services

Type Date Description Quantity Rate Discount Total

a eS ae ae Sa Sa)

Q-SS See a TE Se el Se RARE Rd 5 SOR ate, Sas)
Fa)

(ae ae alas Miele iat hen pe ieee ein neem Se eeiee Cees)
as
CE)

(tena ee aE Aa Rees ieee, Se as Sas} (CSAs ia GT ea eS abe
Pe RS)

Service 04/25/2018 Download Amended Answer; review 1.10 $350.00 - $385.00
Amended Answer and email to Christine
Biros

Service 04/26/2018 T/C Christine Biros re: Preliminary 0.40 $350.00 100.0% $0.00

Objections to Amended Answer

EXHIBIT

Bb

Page 1 of 3

tabbies

 
Invoice # 713 - 05/08/2018

Service 04/30/2018 Research and draft additional Preliminary 2.80 $350.00 - $980.00
Objections
Line Item Discount Subtotal -$455.00
Services Subtotal $5,610.00
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aes)
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ies, Dart)
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RSL © Seer eh)
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(7 SRSA Gg it)

Page 2 of 3

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 746
Murrysville, PA 15668 Date: 06/07/2018

Phone: (724) 994-7887 Due Upon Receipt
www.ottolawfirm.com

Christine Biros

00089-Biros

U-Lock
Services
Type Date Description Quantity Rate Discount Total
Service 05/01/2018 Draft Preliminary Objections; research and 3.90 $350.00 - $1,365.00
revise Brief
Service 05/02/2018 Revise Preliminary Objections; revise Brief 1.00 $350.00 100.0% $0.00

|

Service 05/14/2018 Finalize Preliminary Objections and Brief: 2.80 $350.00 - $980.00
file and serve; T/C Christine Biros re: status
of case
ORE

Service 05/29/2018 Review U Lock objections; research cases 1.40 $350.00 - $490.00

cited; T/C Christine Biros re: status of
meeting with U Lock counsel

Line Item Discount Subtotal -$735.00

Services Subtotal $3,540.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq.

P.O. Box 701
Murrysville, PA 15668
Phone: (724) 994-7887
www.ottolawfirm.com

Christine Biros

00089-Biros
U-Lock
Type Date Description

Service 06/13/2018 Review U Lock's Response to Preliminary
Objections

Service 06/15/2018 Review of U Lock case status with Christine
Biros and additional actions

 

Service 06/21/2018 Review Preliminary Objections response
and docket

Page 1 of 2

INVOICE

Invoice # 789
Date: 07/24/2018
Due Upon Receipt

Quantity Rate Discount Total

0.70 $350.00 - $245.00

0.50 $350.00 100.0% $0.00

0.20 $350.00 100.0% $0.00

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 842
Murrysville, PA 15668 Date: 10/04/2018
Phone: (724) 994-7887 Due Upon Receipt
www.ottolawfirm.com

Christine Biros

00089-Biros

U-Lock

Services

Type Date Description Quantity Rate Discount Total

|
|

Service 09/07/2018 Finalize Petition to Stay Tax Sale: travel to 2.70 $350.00 - $945.00
Courthouse fo present Motion; T/C's to
Christine Biros, J. Allen Roth, John Tumolo,
Dennis Del Cotto; file Order in
Prothonotary's Office

Service 09/12/2018 T/C Christine Biros re: order on preliminary 0.60 $350.00 100.0% $0.00
objections; email to Attorney Roth on
revised Complaint

Service 09/24/2018 Review Answer from Attorney Roth 0.40 $350.00 - $140.00
ee
eS.
Line Item Discount Subtotal -$210.00
Services Subtotal $2,390.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1204
Murrysville, PA 15668 Date: 10/15/2019
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros

U-Lock
Services
Type Date Description Quantity Rate Discount Total
Service 09/04/2019 Review of Motion for Post Trial Relief of 1.30 $350.00 - $455.00

Defendant; T/C Christine Biros; check
appeal period

Service 09/06/2019 Research objections and drafts: T/C 2.20 $350.00 - $770.00
Christine Biros re: mation and objections

Service 09/07/2019 Review and research post trial motions: 1.70 $350.00 - $595.00
review 2018 deeds

Service 09/11/2019 Draft Objections to Defendant's Post Trial 3.40 $350.00 - $1,190.00
Motion

Service 09/13/2019 File Motion and Objections 1.80 $350.00 - $630.00

Service 09/18/2019 T/C Christine Biros re: post trial motions 0.30 $350.00 100.0% $0.00

Page 1 of 3

 
Invoice # 1204 - 10/15/2019

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Co

Service 09/28/2019 T/C Christine Biros re: Defendant's filings 0.30 $350.00 100.0%

Line Item Discount Subtotal -$1,365.00
Services Subtotal $7,530.00

Al

Page 2 of 3

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1234
Murrysville, PA 15668 Date: 11/19/2019
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros
U-Lock
Services
Type Date Description Quantity Rate Discount Total
Service 10/07/2019 Draft Brief in Opposition 5.20 $350.00 - $1,820.00
Service 10/08/2019 Draft and research Brief in Opposition to U 4.60 $350.00 - $1,610.00
Lock's Motion for Post Trial Relief
Service. 10/09/2019 Research and draft Brief in Opposition to U 4.70 $350.00 - $1,645.00
Lock's Motion for Post Trial Relief
Service 10/10/2019 Research and draft Brief in Opposition to U 6.10 $350.00 - $2,135.00

Lock’s Motion for Post Trial Relief

(IS)
Service 10/11/2019 Review and research and revise Brief in 2.70 $350.00 - $945.00
Opposition to U Lock's Motion for Post Trial
Relief
Service 10/12/2019 Review and research and revise Brief in 3.70 $350.00 - $1,295.00
Opposition to U Lock's Motion for Post Trial
Relief
Service 10/13/2019 Revise and research Brief in Opposition to 2.90 $350.00 - $1,015.00
U Lock's Motion for Post Trial Relief
Service 10/13/2019 Review Brief 0.50 $100.00 “ $50.00
Service 10/15/2019 Prepare and file Brief in Opposition; T/C 1.30 $350.00 - $455.00

Christine Biros re: status

Line Item Discount Subtotal -$105.00

Services Subtotal $11,030.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1290
Murrysville, PA 15668 Date: 01/07/2020
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros
U-Lock
Services
Type Date Description Quantity Rate Discount Total
Service 11/07/2019 Prepare for hearing on post-trial motions 2.10 $350.00 - $735.00
Service 11/08/2019 Prepare for and attend argument on post- 4.20 $350.00 - $1,470.00
trial motions
a aes
=
TERS Sa Se
Line Item Discount Subtotal -$950.00
Services Subtotal $4,380.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1320
Murrysville, PA 15668 Date: 02/03/2020
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros

U-Lock

Services

Type Date Description Quantity Rate Total

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UE A

Page 1 of 3

 
Invoice # 1320 - 02/03/2020

Service 01/29/2020 Review of U Lock filing with Christine Biros 1.20 $350.00 $420.00

Services Subtotal $12,560.00

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Page 2 of 3

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1420
Murrysville, PA 15668 Date: 05/06/2020
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros
U-Lock
Services
Type Date Description Quantity Rate Total

Service 03/09/2020 Review of issues on appeal 0.80 $350.00 $280.00

Page 1 of 3

 
Invoice # 1420 - 05/06/2020

Service 03/26/2020 Research Raynor v. D'Annunzio re: abusive use of 0.80 $350.00 $280.00
procedure and criminal suggestion

Service 04/07/2020 T/C Christine Biros re: appeal and discovery issues 0.50 $350.00 $175.00

Services Subtotal $9,600.00

Page 2 of 3

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1499
Murrysville, PA 15668 Date: 08/20/2020
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawlirm.com

Christine Biros

00089-Biros
U-Lock
Type Date Description Quantity Rate Total

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Service 06/02/2020 Download U Lock's Brief: review Appellee briefing 1.30 $100.00 $130.00
schedule; revise Statement of Issues; T/C Prothonotary

Service 06/04/2020 Review cases of U Lock citations; organize cases 0.80 $350.00 $280.00

Service 06/08/2020 Draft format of Brief; check docket 0.50 $100.00 $50.00
Service 06/09/2020 Review U Lock cases; draft Brief sections 3.50 $350.00 $1,225.00
Service 06/10/2020 Draft Brief sections 1.10 $100.00 $110.00
Service 06/11/2020 Revise Brief; check Superior Court docket 0.50 $100.00 $50.00
Service 06/11/2020 Review U Lock Brief and cases; draft Brief sections 3.40 $350.00 $1,190.00

Service 06/22/2020 Revise Brief 0.70 $100.00 $70.00

Service 06/22/2020 Revie U Lock Brief and cases from U Lock; review prior 2.20 $350.00 $770.00:

Page 1 of 4

 
Invoice # 1499 - 08/20/2020

cases for Biros Brief’

Service 06/24/2020 Review prior cases and U Lock Brief: set issues $.50 $350.00 $1,225.00

Service 06/30/2020 Review of prior brief cases and U Lock issues 3.80 $350.00 $1,330.00

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ae

Service 07/02/2020 Research Appellant's Brief 2.10 $350.00 $735.00

(ee A!
ees
Service 07/08/2020 Revise Brief 0.60 $100.00 $60.00
Service 07/10/2020 Review of U Lock Brief and cases; research issues of U 4.50 $350.00 $1,575.00
Lock Brief
(as Mie Podbel oa AE A ee) Cad ae ERS ERA)
a Gta)
Service 07/12/2020 Review and research U Lock Brief 1.70 $350.00 $595.00
Service 07/13/2020 Review and research U Lock Brief 1.70 $350.00 $595.00
Service 07/14/2020 Review Brief re: references to criminal activity; review 1.80 $100.00 $180.00

trial transcript for discovery requests; revise Brief; T/C
Superior Court Prothonotary

Service 07/14/2020 Draft response to U Lock issues 5.70 $350.00 $1,995.00
Service 07/15/2020 Revise Brief 0.60 $100.00 $60.00
Service 07/16/2020 Draft response to U Lock issues 5.60 $350.00 $1,960.00
Service 07/17/2020 Revise Brief 1.90 $100.00 $190.00

Page 2 of 4

 
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o7/1 7/2020 Draft response to U Lock issues
07/18/2020 Draft response to U Lock issues
07/19/2020 Revise Brief

07/19/2020 Draft response to U Lock issues
07/20/2020 Review Brief citations and references
07/20/2020 Draft response to U Lock issues
07/21/2020 Revise Brief

07/21/2020 Draft response to U Lock issues
07/22/2020 Revise Brief: review citations and formatting
07/25/2020 Restructure Brief with simpler issues
07/26/2020 Revise arguments for issues
07/27/2020 Revise Brief

07/27/2020 Draft arguments for revised Brief
07/28/2020 Revise Brief

07/28/2020 Draft arguments for revised Brief

Service

07/30/2020 Final review of Brief

Invoice # 1499 - 08/20/2020

0.60 $350.00 $210.00
1.60 $350.00 $560.00
1.50 $100.00 $150.00
5.10 $350.00 $1,785.00
4.30 $100.00 $430.00
4.90 $350.00 $1,715.00
1.20 $100.00 $120.00
4.20 $350.00 $1,470.00
2.60 $100.00 $260.00
3.60 $350.00 $1,260.00
5.90 $350.00 $2,065.00
2.10 $100.00 $210.00
7.90 $350.00 $2,765.00
1.10 $100.00 $110.00
4.60 $350.00 $1,610.00

2.7/0 $350.00 $945.00

Page 3 of 4

 
Law Firm of William E. Otto, Esq. INVOICE

P.O, Box 701 Invoice # 1572
Murrysville, PA 15668 Date: 10/09/2020
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros
U-Lock
Type Date Description Quantity Rate Discount Total

Service 09/01/2020 Review Reply Brief; T/C Christine Biros re: 0.90 $350.00 - $315.00
Reply Brief

Service 09/09/2020 T/C Christine Biros re: appeal 0.20 $350.00 100.0% $0.00
aS

Line Item Discount Subtotal -$70.00

Subtotal $375.00

Total $375.00

Payment (05/26/2021) -$375.00

Balance Owing $0.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1835
Murrysville, PA 15668 Date: 07/07/2021
Phone: (724) 994-7887 Due Upon Receipt

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Christine Biros

00089-Biros
U-Lock
Type Date Description Quantity Rate Total
Service 05/28/2021 Review case appeal procedure and review U Lock 0.30 $350.00 $105.00
filings
( eas RR SS SS dak Rr ie Catia Ys KE Lesa ee) Ce a ee eS)
EE I toa ase «|
Subtotal $660.00
Total $660.00
Payment (07/29/2021) -$660.00
Balance Owing $0.00

Page 1 of 2

 
Law Firm of William E. Otto, Esq. INVOICE

P.O. Box 701 Invoice # 1914
Murrysville, PA 15668 Date: 10/10/2021
Phone: (724) 994-7887 Due Upon Receipt

www.ottolawfirm.com

Christine Biros

00089-Biros

U-Lock

Services

Type Date Description Quantity Rate Discount Total
Service 09/05/2021 Draft Answer to Supreme Court Petition for 2.00 $350.00 - $700.00

Allowance of Appeal by U Lock

Service 09/07/2021 Revise Supreme Court Answer and cross- 4.10 $350.00 - $1,435.00
check cases

Line Item Discount Subtotal -$315.00
Services Subtotal $2,615.00

Page 1 of 2

 
Case 19-24058-TPA Doc1 Filed 10/17/19 Entered 10/17/19 15:16:11 Desc Main
Document Page 20 of 50

   
  

AON7ANG 3:14PM

  
 

 

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Debtor 4 John Allen Roth

First Name

 

    

 

 

Middle Name Last Name "

  
 
 

Debtor 2
{Spouse If, filing) First Name Middle Name

 

 

Last Name

      

United States Bankruptcy Court forthe: © WESTERN DISTRICT OF PENNSYLVANIA

  
  

Case number
(if known)

 

 

  

1 Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 far creditors with NONPRIORITY claims. List ¢
any executory contracts or unexpired leases that could result ina claim. Also lis

Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). D
Schedule D: Creditors Who Have Claims

left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pa

he other party fo
t executory contracts on Schedule A/B: Property (Official Form 106A/B) and on

o not include any creditors with partially secured claims that are listed In
Secured by Property. If more Space is needed, copy the Part you need, fill it ouf, number the entries in the boxes on the

ges, write your
name and case number (if known),

GETGRRRE List Aut of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
BB No. Goto Part 2.
OQ Yes.

GEE List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

[1 No. You have nothing to report in this part. Submit this form to the court with your other schedules,

B ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. Ifa credito
unsecured claim, list the creditor separately for each claim. For each claim listed, identify w

than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more
Part 2,

r has more than one nonpriarity
hat type of claim it is. Do not list claims already included in Part 1. If more
than three nonpriority unsecured claims fill out the Continuation Page of

Total claim

 

 

 

 

 

4st Summit Bank Last 4 digits of account number 9461 $4,638.95

Nonpriority Greditor's Name

125 Donald Lane When was the debt incurred? 2014

P.O. Box 5480

Johnstown, PA 15904

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

i Debtor 1 only 1 contingent

C1 Debtor 2 only OD unliquidated

C Debtor 1 and Debtor 2 only CJ Disputed

1 Aiteast one of the debtors and another Type of NONPRIORITY unsecured claim:

Cl Check if this claim fs fora community C1 student ioans

debt oO Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? raport as priority claims

@ no D1 Debts to pension or profit-sharing plans, and other similar debts

DO ves B® otner. Specity Food, Clothing, Gas

i
iC

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7
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Best Case Bankruptey

 
Case 19-24058-TPA Doc1 Filed 10/17/19 Entered 10/17/19 15:16:11

Debior1 John Allen Roth

 

42 | Berkheimer Tax Administrator

Nonpriority Creditors Name
P.O. Box 25153

Lehigh Valley, PA 18002
Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only
01 debtor 2 only
Cl Debtor 1 and Debtor 2 only

(] At least one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

 

Desc Main
Document Page 21 of 50 TOUTING S:14PHa
_ Case number (if known)
Last 4 digits of account number 3799 $154.26
When was the debt incurred? 2019

 

As of the date you file, the claim is: Check all that apply

C1 Contingent
C1 unliquidated

C1 Disputed
Type of NONPRIORITY unsecured claim:

(Gi Student foans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

no O Debts to pension or profit-sharing plans, and other similar debts
O ves Mother. Specify Quarter 1 local Taxes

43 CCC of NY Last 4 digits of account number 3724 $1,315.76
Nonpriority Creditors Name —
P.O. Box 288 When was the debt Incurred? 2019

Tonawanda, NY 14151-0288
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

Oo Debtor 2 only

(J Debtor 1 and Debtor 2 only

1 At least one of the debtors and another

C check if this claim is for a community
debt

Is the claim subject to offset?

 

As of the date you file, the claim is: Check all that apply

oO Contingent
Oo Unliquidated

D1 Disputed
Type of NONPRIORITY unsecured claim:
Oo Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

Bino C1 Debts to pension or profit-sharing plans, and other similar debts
LexisNexis
0 ves ® other. Specify qQ00HWLSOV
Citi Cards Last 4 digits of account number 3432 $15,033.26
Nonpriority Creditar's Name :
P.O. Box 9001037 When was the debt incurred? 2014.
Louisville, KY 40290
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB Debtor 1 only C1 contingent
C1 Debtor 2 only [1] unliquidated
CO Debtor 1 and Debtor 2 only C Disputed
D At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community Oi student loans
debt (C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 Denis to pension or profit-sharing plans, and other similar debis
Costco
yes other. specify Food, Clothing, Gas
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Debtor 1 John Allen Roth Case number (if known)
a
45 | Department of the Treasury Last 4 digits of account number 2965 $41,793.64
Nonpriority Creditors Name
Internal Revenue Service When was the debt incurred? 2019
Kansas City, MO 64999-0005 ~
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& pebior 1 only O Contingent
C1 Debtor 2 only O Unliquidated
C Debtor 1 and Debtor 2 only D1 Disputed
[7 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community FE] student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? Tteport as priority claims
Hino D1 Debis to Pension or profit-sharing plans, and other similar debts
D1 ves W other. specify _Quarter 1 Federal employee taxes _
4.6 Department of the Treasury Last 4 digits of accountnumber 5183 __ $219.57
Nonpriority Creditors Name
Internal Revenue Service When was the debt incurred? 2019
Kansas City, MO 64999-0005
Number Street City State Zip Gode As of the date you file, the claim is: Check aii that apply
Who Incurred the debt? Check one.
a Debtor 1 only o Contingent
CO peptor 2 only CI unliquidated
CJ Debtor 4 and Debtor 2 only CO disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Cheek if this claim is fora community C1 student loans
debt D obtigations arising out of a separation agreement of divorce that you did not
Is the claim subject to offset? report as priority claims
a No D1 Debts to pension or profit-sharing plans, and other similar debts
O Yes @ other. Specify Quarter 1 employee State Taxes
Goodyear Gredit Plan Last 4 digits of account number 3963 $331.80
Nonpriority Creditors Name
P.O. Box 9001006 When was the debt incurred? 2019
Louisville, KY 40290
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF bebtor 4 only CI Contingent
C1 Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CD student oans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mx D7 debts to pension or profit-sharing plane, and alter simular depts
Oi yes BB other. Specity Food, Clothing, Gas
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

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Bebtor1 John Allen Roth

[48 Internal Revenue Service

 

 

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 3783 $205,000.00
Nonpriority Creditor's Name a
Centralized Insolvency Operation When was the debt incurred? 2010-2016
P.O. Box 21126
Philadelphia, PA 19114
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W@ Debior 7 only 0) Contingent
C1 Debtor 2 only CQ) Unliquidated
(J Debtor 1 and Debtor 2 only (Cl Disputed
C2 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Cheek if this claim is for a community E1 Student loans
debt QO Obligations arising out of a separation agreement or divorce that you did not
_ Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
D1 ves other. specify Taxes
[4.9 Keystone Collections Group Last 4 digits of account number 2227 $1,309.92
Nonpriority Creditor's Name
P.O, Box 505 When was the debt incurred? 2019
Irwin, PA 15642
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
a Debtor 1 only Ol Contingent
C1 Debtor 2 only © untiquidated
Cl Debtor 1 and Debtor 2 only O disputed
(J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community D1 student ioans
debt C1 Obligations arising out of a Separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
Hino O Debis to pension or profit-sharing plans, and other similar debts
D1 yes @ other. Specify Real Estate Local Taxes
-1 j
. Macy's American Express Last 4 digits of account number 1883 $1 8,734.66
Nonpriority Creditors Name
P.O. Box 9001108 When was the debt incurred? 2018
Louisville, KY 40290
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
Wi Debtor 1 only Oo Cantingent
1 Debtor 2 only Oo Unliquidated
C] Debtor 4 and Debtor 2 only CI Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt Obligations arising out of a separation agreement or divoree that yau did not
Is the claim subject to offset? report as priority claims
Bi no C1 Debis to pension or profit-sharing plans, and other similar debts
QO ves other. Specify Food, Clothing, Gas
Official Form 106 E/E Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

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Debtor? John Allen Roth Case number (if known)
Af .
1 Office of UC Tax Services Last 4 digits of account number 2726 $19,066.51
Nonpriority Creditors Name
P.O. Box 60848 When was the debt incurred? 2010
Harrisburg, PA 17106
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& debtor 4 only Oo Contingent
1 bebtor 2 only oO Unliquidated
DD bebtor + and Debtor 2 only Cl disputed
(1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim Is for a community C] Student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino 0 Debts to Pension or profit-sharing plans, and other similar debts
Unemployment Compensation Office
C1 yes W other. Specity Department of Labor & Industry
44 7
2 Penn Credit Corporation Last 4 digits of account number 7493 $1 5692.55
Nonpriority Creditors Name
916 S. 14th Street When was the debt incurred? 12/31/2015
Harrisburg, PA 17404
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B® pebtor 1 only CO Contingent
QO] Debtor 2 only 1 Unliquidated
C1 Debtor 4 and Debtor 2 only Cl disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
( Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No Co Debts to pension or profit-sharing plans, and other similar debts
Pennsylvania Department of Revenue
Annual Income Tax Empl id: 11 2045
O Yes other. Specily Ace No. 3783
44
3 PNC Bank Last 4 digits of account number 4902 $6,712.34
Nonpriority Creditor's Name
P.O. Box 856177 When was the debt incurred? 2019
Louisville, KY 40285
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ debtor 4 only CJ Contingent
CJ Debtor 2 only C) untiquidated
C1 Debtor 4 and Debtor 2 only 1 Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No C1 Debits to pension or profit-sharing plans, and other similar debts
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

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, Rauch-Milliken International, Inc.

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Debtor? John Allen Roth

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Case number (ifknawn)

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Last 4 digits of account number 5572 $2,549.00
Nonpriority Creditors Name
P.O. Box 8390 When was the debt incurred? 2019
Metairie, LA 70011
Number Street City State Zip Coda As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WF pebtor ¢ only CO contingent
C1 pebtor 2 only Oo Unliquidated
17 pewter 1 and Debtor 2 only C1 pispured
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this elaim is for 2 community C1 Student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno D Debts to pension or profit-sharing plans, and other similar debts
0 ves ® other. Specify Hibu Digital _
41 ;
5 RELX Inc. DBA LexisNexis Last 4 digits of account number WLOV $4 299,52
Nonpriority Creditors Name .
P.O. Box 9584 When was the debt incurred? 2018
New York, NY 10087
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
BB pebtor 4 only CI contingent
1 Debtor 2 only C1 unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
C1 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
1 Check if this claim is for a community O Student loans
debt C Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no D Debts to pension or profit-sharing plans, and other similar debts
C1 ves WW other. Specity Research Site
4.4 +
6 Southwest Regional Tax Bureau Last 4 digits of account number 2965 $129.26
Nonpriority Creditors Name 7

One Centennial Way
Scottdale, PA 15683
Number Street City State Zip Cade

Who incurred the debt? Check one.

B bebior 1 only

CI Debtor 2 only

C) Debtor 1 and Debtor 2 only

[1 At least one of the debtors and another

C1 Check if this claim Is fora community
debt
Is the claim subject to offset?

Bno
CO Yes

When was the debt incurred? 2019

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
Oo Untiquidated

TC Disputed
Type of NONPRIORITY unsecured claim:
C1 Student loans

0 Obligations arising out of a separation agraement or divorce that you did not
report as priority claims

C Debts to pension or profit-sharing plans, and other similar debts
other. Specity Quarter 1 local taxes employee

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptey, for a debt that you already listed in Parts 1 or 2. For example,

if a collection agency

is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

[EERZMM Ada the Amounts for Each Type of Unsecured Claim

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 John Allen Roth Case number (ifknown)

 

6. Total the amounts of certain types of unsecurad claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total _
claims
from Part 4 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
i rr
8d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
steerer a
6e. Total Priority. Add lines 6a through 6d. fe. $ 0.06
OY
Total Claim
6f. Student loans 6F. $ 0.00
CO
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 8g. Ss a
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
oe $ 279,380.97
6. Total Nonpriority. Add lines 6f through Gi. gj. $ 279,380.97
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 7

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CERTIFICATE OF SERVICE

William E. Otto, Esq. hereby certifies, that on the 4 fe day of May, 2022, a true and
correct copy of the foregoing EVIDENCE IN SUPPORT OF PLAINTIFF’S MOTION FOR
SANCTIONS PURSUANT TO 42 Pa.C.S.A. § 2503(7) and (9) and PA.R.C.P. RULE
1023.1(d) was served upon the following via First-Class U.S. Mail:

The Honorable Harry Smail
Westmoreland County Courthouse
2 N. Main St
Greensburg, PA 15601

J. Allen Roth, Esq.
757 Lloyd Avenue Extension, Suite B
Latrobe, PA 15650
(Counsel for U Lock, Inc.)

Without Exhibit B, Invoices:

John Tumolo, Esq.

Suite 1500 Frick Building
Pittsburgh, PA 15219
(Counsel for Kathleen S. Walter)
(For information purposes only)

Dennis Del Cotto, Esq.
4345 Old William Penn Highway
Murrysville, PA 15668
(Counsel for Denise Schur, Henry L. Moore, Susan Stano and Cynthia Sarris)
(For information purposes only)

(\\0X ge

William E. Otto, Esq.
Counsel for Plaintiff

 
